                      Case 2:06-cr-00441-DAD Document 562 Filed 12/15/15PagePage     1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)
                                                                            1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Eastern        District of        California

                    United States of America
                               v.                                          )
                                                                           )    Case No:       2:06CR00441
                ISAURO JAUREGUI CATALAN                                    )
                                                                           )    USM No: 47975-112
Date of Original Judgment:         4/18/13                                 )
Date of Previous Amended Judgment:                                         )    Hannah Labaree, Assistant Federal Defender
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of        the defendant      the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED.        GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of        121              months is reduced to              120 months              .
                                              (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated 4/18/13 shall remain in effect.

IT IS SO ORDERED.


Order Date: 12/15/15                                                                           _________________________________
                                                                                                       Judge’s signature



Effective Date:                                                                        Garland E. Burrell, Jr., U.S. District Judge
                       (if different from order date)                                                  Printed name and title
